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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
FJN/GK/TBM                                          271 Cadman Plaza East
F. #2014R01920/OCDETF #NY-NYE-764                   Brooklyn, New York 11201



                                                    July 24, 2023

By Hand and E-mail                                  PARTIAL SEALING REQUESTED

The Honorable Dora L. Irizarry
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Dairo Antonio Usuga David
                       Criminal Docket Nos. 14-625, 23-21 and 23-27 (DLI)

Dear Judge Irizarry:

                The government respectfully submits this letter in advance of the sentencing of
the defendant Dairo Antonio Usuga David scheduled for August 8, 2023 at 11:00 a.m. For the
reasons set forth below, a sentence of 45 years’ or 540 months’ imprisonment is sufficient, but
not greater than necessary, to achieve the goals of sentencing.

I.     Factual Background

                For almost two decades, the defendant served as a leader of a powerful and
violent terrorist, paramilitary, and narcotrafficking organization based in Colombia that engaged
in countless acts of violence and was responsible for the widespread distribution of multi-ton
shipments of cocaine from Colombia for ultimate importation into the United States. For nearly
a decade, the defendant served as the organization’s supreme leader.

               By way of background, beginning in 1997, the defendant was a member of the
Autodefensas Unidas de Colombia (“AUC”), a Colombian paramilitary and drug trafficking
organization that engaged in armed conflict with the Fuerzas Armadas Revolucionarios de
Colombia (“FARC”), Colombia’s main guerilla group. Presentence Investigation Report dated
May 25, 2023 (“PSR”) ¶ 51 1; Tr. Jan. 25, 2023 (“Guilty Plea”) at 52:2-13. The AUC’s
objectives included removing FARC sympathizers from positions of power and influence
throughout Colombia. PSR ¶ 51. In 2001, the United States Department of State designated the


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               References to the PSR include the Addendum to the Presentence Report dated
July 5, 2023 and the Second Addendum to the Presentence Report dated July 13, 2023.
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AUC as a Foreign Terrorist Organization and Specially Designated Global Terrorism
Organization. Id. By the mid-2000s, many members of the AUC demobilized pursuant to the
Colombian government’s Justice and Peace process, which required paramilitary members to
surrender to the Colombian government and relinquish their criminally derived assets in
exchange for reduced sentences and amnesty from extradition. Id. Rather than submit to the
peace process, co-defendant Daniel Rendon Herrera effectively remobilized the AUC as the Clan
del Golfo drug trafficking organization (“CDG,” formerly and also known as “Los Urabeños”
and “Clan Usuga”). Id. The defendant briefly demobilized before joining the CDG. See Guilty
Plea at 52:2-24.

                 The defendant served as a high-ranking leader within the CDG and served as its
supreme leader from 2012 to 2021, following Rendon Herrera’s capture and extradition to the
United States. PSR ¶ 61. The CDG was and remains one of the most violent and most powerful
criminal organizations in Colombia, and one of the largest distributors of cocaine in the world.
Id. ¶ 52. With as many as 6,000 members at times, the CDG exercises military control over vast
amounts of territory in the Urabá region of Antioquia, and employs military tactics and weapons
to reinforce its power against rival drug traffickers, paramilitary organizations, and Colombian
law enforcement authorities who threaten the CDG’s control. Id.

                 The CDG funds its activities primarily through a multi-billion-dollar drug
trafficking operation, charging fees for every kilogram of cocaine manufactured, stored, or
transported through areas controlled by the organization and by exporting its own cocaine,
including to the United States. Id. ¶ 53. The defendant controlled cocaine manufacturing
facilities and used the CDG’s extensive distribution network to export cocaine for his own
personal profit. Id. ¶ 65. In connection with his guilty plea, the defendant has acknowledged
that at his direction, the CDG collected taxes on at least 96,856 kilograms—or 96.856 tons—of
cocaine. Id. The magnitude of the defendant’s personal profit from this sweeping drug
trafficking enterprise is evidenced by the fact the defendant has consented to a staggering
$216,000,000 forfeiture money judgment in the instant case. See Plea Agmt. ¶ 8.

                During his reign, the defendant oversaw all the CDG’s activities and directed its
members to engage in extensive criminal acts. The defendant and the CDG used violence to,
among other things: (1) protect CDG members from arrest and prosecution, silence potential
witnesses, and retaliate against law enforcement authorities and those assisting law enforcement;
(2) maintain discipline among CDG members and associates; (3) promote and enhance the
prestige, reputation, and position of the CDG with respect to rival criminal organizations;
(4) preserve, protect, and expand the CDG’s power and territory; and (5) finance the CDG’s
operations and enrich its leaders through the collection of drug debts. See PSR ¶¶ 54, 61, 64. To
help carry out this violence, the defendant and the CDG employed a veritable army of “sicarios,”
or hitmen, who kidnapped, tortured, and murdered competitors and those deemed traitors to the
organization, as well as their family members. See id. ¶¶ 54, 61.

               The defendant’s reign over the CDG was marked by violence and vengeance. For
example, in early 2012, after the defendant’s brother, Juan de Dios Usuga David (also known as
“Giovanni”), was killed in a police raid, the defendant ordered a multi-day shutdown, or “strike,”
on towns and communities within the CDG’s control. Id. ¶ 62. Residents remained at home and
business owners kept their establishments closed under fear of execution. Id. On a separate


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occasion, at the defendant’s instruction, a CDG member—who was believed to have provided
information to a rival drug trafficking organization run by Daniel Barrera Barrera—was tortured,
buried alive, and beheaded post-mortem for his perceived disloyalty. Id.

                 Moreover, at the defendant’s direction, the CDG carried out organized campaigns,
referred to as “Plan Pistolas,” to kill Colombian law enforcement and military personnel, for
which purpose they used military-grade weapons, including grenades, explosives, and assault
rifles. Id. ¶ 64. The defendant offered bounties for the murder of Colombian police officers and
military personnel to intimidate law enforcement authorities and prevent them from capturing
him or interfering in the CDG’s business. Id. Indeed, following the defendant’s extradition in
connection with the instant case, the CDG embarked on an armed shutdown of 11 of Colombia’s
32 regional departments, which resulted in five murders—including of two police officers and
one solider—as well as attacks on police stations and blockages of roadways and public
transportation systems.

               Further, the defendant’s organization made numerous attempts to assassinate
individuals who were believed to be cooperating with law enforcement, including in connection
with the instant case. See id. For example, CDG members attempted to poison a potential
government witness with cyanide while that individual was imprisoned in Colombia and also
attempted to assassinate the witness’s foreign attorney. 2 Id.

                For years, the defendant evaded capture by methodically moving through a
network of rural safe houses. See id. ¶ 60. The defendant was ultimately captured on October
23, 2021, in a hideout in Antioquia province, Colombia, near the Colombia-Panama border,
following an extensive, massive, and unprecedented operation by Colombian military and law
enforcement personnel. See id.
II.    Procedural History

               The defendant has been separately charged in at least three districts, beginning as
early as 2009, and prior to his extradition to the United States, numerous superseding indictments
were filed adding charges and violations against him. See United States v. Dairo Antonio Usuga
David, 04-CR-962 (LAP) (S.D.N.Y.); United States v. Dairo Antonio Usuga David, 14-CR-625
(DLI) (E.D.N.Y.); United States v. Dairo Antonio Usuga David, 15-CR-20403-WPD (S.D. Fl.).

              As relevant here, on July 16, 2009, a grand jury sitting in the Southern District of
New York returned a Third Superseding Indictment against the defendant (the “SDNY
Indictment”). Count Two charges that between 1998 and 2009, the defendant conspired to

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                 The defendant’s penchant for retaliation against those who opposed him or the
CDG was not limited to human beings. Indeed, under the defendant’s leadership, the CDG was
reported to have offered a bounty of 200 million Colombian pesos, nearly $70,000 U.S. dollars,
for the life of a Colombian counter-narcotics police dog who had aided in significant seizures
and arrests. See, e.g., “Colombian Drug Traffickers Put a $70,000 Bounty on a Police Dog,”
N.P.R. (July 27, 2018), available at https://www.npr.org/2018/07/27/633039986/colombian-
drug-traffickers-put-a-70-000-bounty-on-a-police-dog (last visited July 16, 2023).


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import five kilograms or more of a substance containing cocaine into the United States, in
violation of Title 21, United States Code, Sections 812, 952(a), 963 and 960(b)(1)(B). See PSR
¶ 48; ECF 23-CR-27 (DLI) Dkt. No. 1.

                On November 2, 2021, a grand jury sitting in the Southern District of Florida
returned a First Superseding Indictment against the defendant (the “SDFL Indictment”). Count
One charges that between 2002 and 2021, the defendant conspired to import five kilograms or
more of a substance containing cocaine into the United States, in violation of Title 21, United
States Code, Sections 963 and 960(b)(1)(B). Count Two charges that between 2009 and 2021,
the defendant conspired to distribute five kilograms or more of a substance containing cocaine on
a vessel subject to the jurisdiction of the United States, in violation of Title 46, United States
Code, Section 70506(a) and Title 21, United States Code, Section 960(b)(1)(B). See PSR ¶ 48;
ECF 23-CR-21 (DLI) Dkt. No. 1.

                On November 4, 2021, a grand jury sitting in the Eastern District of New York
returned a Fourth Superseding Indictment against the defendant (the “EDNY Indictment”), with
three counts, each spanning 2003 to 2021. The EDNY Indictment charges the defendant in
Count One with engaging in a continuing criminal enterprise (“CCE”), in violation of Title 21,
United States Code, Sections 848(a) and 848(c), predicated on 45 violations, for his role as the
leader of the CDG. Count Two charges the defendant with participating in an international
conspiracy to manufacture and distribute cocaine, knowing and intending that the narcotics
would be illegally imported into the United States, in violation of Title 21, United States Code,
Sections 959(d), 960(b)(1)(B)(ii) and 963. Count Three charges the defendant with use of
firearms in furtherance of his drug trafficking crimes, in violation of Title 18, United States
Code, Sections 924(c)(1)(A)(i), 924(c)(1)(A)(ii), 924(c)(1)(A)(iii) and 924(c)(1)(B)(ii). See PSR
¶¶ 1-47.
               On May 4, 2022, Colombia extradited the defendant to the United States to face
charges on the EDNY Indictment—specifically, Count One, Violations One through Forty-Four,
and Count Two—as well as the SDFL Indictment and SDNY Indictment. See id. ¶ 60.
               On May 5, 2022, the defendant was arraigned before the Honorable Vera M.
Scanlon, United States Magistrate Judge for the Eastern District of New York. See ECF 14-CR-
625 Dkt. No. 150. Judge Scanlon entered a permanent order of detention and, since that time,
the defendant has been incarcerated at the Metropolitan Detention Center (“MDC”) in Brooklyn,
New York. 3 See id. Dkt. No. 152.
                 In January 2023, upon the defendant’s consent and in anticipation of his entering
a guilty plea, the SDFL Indictment and SDNY Indictment were transferred to this District,



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               Since May 18, 2022, the defendant has been incarcerated pursuant to Special
Administration Measures (“SAMs”), as approved by Deputy Attorney General Lisa Monaco and
Deputy Assistant Attorney General Jennifer Hodge. SAMs were deemed appropriate given,
among other things, the defendant’s prior use of third parties to carry out acts of violence against
potential witnesses and those deemed disloyal, and to exercise control over the CDG.


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pursuant to Rule 20 of the Federal Rules of Criminal Procedure, and assigned Docket No. 23-
CR-21 (DLI) and Docket No. 23-CR-27 (DLI), respectively.
              On January 25, 2023, the defendant pled guilty before Your Honor pursuant to a
plea agreement (the “Plea Agreement”). Specifically, the defendant pled guilty to Count One of
the EDNY Indictment, charging the defendant with engaging in a CCE, which carries a
minimum term of 20 years’ imprisonment and a maximum term of life. See PSR ¶ 66. At the
same appearance, the defendant pled guilty to Count Two of the SDFL Indictment, charging a
maritime narcotics conspiracy, and Count Two of the SDNY Indictment, charging a narcotics
importation conspiracy, each of which carry a minimum term of 10 years’ imprisonment and a
maximum term of life. See id. ¶¶ 67-68.
III.   The Sentencing Guidelines

              The government agrees with the United States Sentencing Guidelines (“U.S.S.G.”
or “Guidelines”) calculation set forth in the PSR, which yields a total combined offense level of
54, Criminal History Category I, and an applicable Guidelines range of life imprisonment, as set
forth below. See PSR ¶¶ 75-104.

       SDFL & SDNY Indictments: Maritime Narcotics Conspiracy & Narcotics Importation
       Conspiracy

               Base Offense Level                                               38
               (More Than 450 Kilograms of Cocaine (§§ 2D1.1(a)(5),
               2D1.1(c)(1)))

               Plus: Possession of Dangerous Weapon (§ 2D1.1(b)(1))             +2

               Plus: Use of Violence (§ 2D1.1(b)(2))                            +2

               Plus: Use of Semi-Submersible Vessel (§ 2D1.1(b)(3)(B))          +2

               Plus: Bribery of Law Enforcement Officials (§ 2D1.1(b)(11))      +2

               Plus: Maintained a Premises for Purpose of Manufacture or        +2
               Distribution (§ 2D1.1(b)(12))

               Plus: Aggravating Role (§ 2D1.1(b)(16))                          +2

               Plus: Role Adjustment (§ 3B1.1(a))                               +4

               Subtotal:                                                        54




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       EDNY Indictment: Continuing Criminal Enterprise

               Base Offense Level                                                 42
               (More Than 450 Kilograms of Cocaine (§§ 2D1.5(a)(1),
               2D1.1(a)(5), 2D1.1(c)(1)))

               Plus: Possession of Dangerous Weapon (§ 2D1.1(b)(1))               +2

               Plus: Use of Violence (§ 2D1.1(b)(2))                              +2

               Plus: Use of Semi-Submersible Vessel (§ 2D1.1(b)(3)(B))            +2

               Plus: Bribery of Law Enforcement Officials (§ 2D1.1(b)(11))        +2

               Plus: Maintained a Premises for Purpose of Manufacture or          +2
               Distribution (§ 2D1.1(b)(12))

               Subtotal:                                                          52

       Grouping Analysis (§§ 3D1.2, 3D1.4)                     Units          Level

               Highest Offense Level (SDFL & SDNY)                  1             54

               Total Combined Offense Level                                       54

The defendant receives a reduction of three points for acceptance of responsibility, resulting in a
total adjusted offense level of 51. Id. ¶ 102-04. Because the total adjusted offense level of 51
exceeds the maximum offense level under the Guidelines, the offense level in this case is to be
treated as level 43. U.S.S.G. Ch. 5, Pt. A, Cmt. n.2; PSR ¶ 104. The defendant stipulated to the
Guidelines calculation. Plea Agmt. ¶ 4.

                Notwithstanding that both the statutory maximum and Guidelines range
applicable to this case are life imprisonment, pursuant to the terms of the Plea Agreement, and as
agreed upon between the governments of the United States and Colombia in connection with the
defendant’s extradition, the government does not seek a sentence of life imprisonment. See id.
¶¶ 1(a) n.1, 7(b).

IV.    Discussion

               The government respectfully seeks a sentence of 45 years’ imprisonment
primarily on account of the defendant’s decades-long leadership positions within the CDG, a
violent Colombian terrorist and paramilitary organization, and the massive quantity of cocaine
the defendant is responsible for trafficking, which furthered the CDG’s unlawful objectives. As
set forth below, consideration of the factors set forth in Title 18, United States Code, Section
3553(a) warrants such a sentence.




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       A.      Nature and Circumstances of the Offense, and History and Characteristics of the
               Defendant

               The defendant’s brutal reign as supreme leader of the CDG, during which
staggering quantities of cocaine were distributed for ultimate importation into the United States,
warrants the requested sentence.

                For almost two decades, the defendant exercised a leadership position within the
CDG. He maintained both his leadership position within the organization, and the organization’s
position as one of the largest distributors of cocaine in the world, through violent and unyielding
conduct, including obstruction of justice. He ordered the killing, kidnapping, and torture of
rivals, as well as individuals he believed were cooperating with law enforcement against his
personal interests and the CDG. He targeted civilians and law enforcement personnel, as well as
their respective families. He terrorized communities in the Urabá region of Colombia, at times
ordering civilians to stay home and business owners to keep their establishments closed under
fear of execution. He attempted to poison a potential government witness with cyanide and, not
stopping there, also attempted to murder that person’s lawyer.

               The defendant’s desire for control and revenge simply cannot be overstated, nor
can the degree of harm he inflicted, both in the United States, through the CDG’s unceasing
importation of cocaine, and in Colombia, through his reign of terror. Accordingly, the requested
sentence appropriately reflects both the nature and circumstances of the offense, and the
defendant’s history and characteristics.

       B.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense,
               Promote Respect for the Law, and Provide Just Punishment for the Offense

                The defendant’s offenses of conviction were massive in scale. For example, the
defendant is responsible for trafficking and conspiring to traffic more than 96,856 kilograms of
cocaine. This quantity of cocaine exceeds the threshold amount for the greatest possible offense
level under the Guidelines, which is 450 kilograms, by several orders of magnitude. The
seriousness of the defendant’s conduct is also underscored by the fact that the Guidelines do not
even contemplate the extent of his culpability—his total adjusted offense level falls off the
Sentencing Table. And the fortune he amassed while running this paramilitary, narcotrafficking
organization for almost two decades is signified by the defendant’s consent to the entry of a
$216,000,000 forfeiture money judgment. In the circumstances, the requested sentence is
sufficient, but not greater than necessary.
                The need to promote respect for the law is also particularly acute here. Through
the Colombian government’s Justice and Peace process, the defendant was afforded a generous
and lawful means to demobilize. However, the defendant rejected the rule of law. Instead, the
defendant briefly demobilized and decided that a peaceful, non-violent existence was not for
him. The defendant rejoined Daniel Rendon Herrera and others who rejected the demobilization
process and he became one of the CDG’s leaders. The defendant’s ambitions, however, even
exceeded those of Rendon Herrera. Rendon Herrera co-founded the CDG and its violent
narcotics trafficking and killing machine. The defendant refined, expanded, and perfected upon
the foundation laid by Rendon Herrera. At its peak, under the defendant’s leadership, the CDG



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relationship between the conduct underlying the defendant’s offenses of conviction, the
government recommends that the sentences imposed on the counts of conviction run
concurrently. See Plea Agmt. ¶ 7(c).
       G.      The Need to Avoid Unwarranted Sentence Disparities Among Similarly Situated
               Defendants

                The requested sentence of 45 years’ imprisonment would avoid unwarranted
sentencing disparities between similarly situated defendants. Most pertinent, on October 17,
2022, this Court sentenced co-defendant Rendon Herrera to 35 years’ or 420 months’
imprisonment for creating the terrorist, paramilitary, narcotrafficking organization that the
defendant later ran and made flourish under his reign as of terror. See PSR p. 3. As explained
above, the defendant’s criminal conduct exceeds even that of Rendon Hererra. Courts across the
country have imposed similar sentences on drug cartel and paramilitary leaders, and senior
narcotraffickers. See, e.g., United States v. Henry de Jesus Lopez Londoño, No. 10-CR-20763
(JAL) (S.D. Fl.) (high-ranking member of the AUC and CDG subordinate to the defendant, “Mi
Sangre,” convicted at trial of cocaine importation conspiracy in connection with tens of
thousands of kilograms of cocaine, principally sentenced on June 18, 2018 to 372 months’
imprisonment); United States v. Daniel Barrera Barrera, Nos. 07-CR-862/15-CR-211/15-CR-492
(GHW) (S.D.N.Y.) (violent narcotrafficker, “Loco Barrera,” responsible for manufacturing and
trafficking hundreds of tons of cocaine through both FARC- and AUC-controlled territory for
importation into the United States and elsewhere, convicted on multiple counts of cocaine
importation and money laundering conspiracy, principally sentenced on July 25, 2016 to 420
months’ imprisonment); United States v. Diego Fernando Murillo Bejarano, No. 03-CR-1188
(RMB) (S.D.N.Y.) (former de facto leader of the AUC, “Don Berna,” convicted of cocaine
importation conspiracy principally sentenced on April 22, 2009 to 375 months’ imprisonment);
United States v. Joaquin Archivaldo Guzman Loera, No. 19-CR-775 (BMC) (E.D.N.Y.) (“El
Chapo,” sentenced to life imprisonment plus 30 years after trial conviction for being a principal
leader of the Sinaloa Cartel).

               These sentences illustrate that the requested sentence of 45 years’ imprisonment
would not result in unwarranted disparity, and is sufficient, but not greater than necessary, to
achieve the goals of sentencing.




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V.     Conclusion

                For the reasons set forth above, the government respectfully submits that, based
on the factors set forth in Section 3553(a), a sentence of 45 years’ or 540 months’ imprisonment
is reasonable and appropriate in this case.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney



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